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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


 MILLER INVESTMENT TRUST, and
 JURA LIMITED
     Plaintiffs,
 v.                                                      Civil Action No. 11-CV-12126-DPW
 MORGAN STANLEY & CO.
 INCORPORATED, n/k/a/ MORGAN
 STANLEY & CO, LLC and KPMG, a Hong
 Kong partnership

         Defendants.


 STIPULATION FOR DISMISSAL WITHOUT PREJUDICE OF CLAIMS AGAINST
MORGAN STANLEY & CO., LLC IN FAVOR OF LITIGATION IN MASSACHUSETTS
                         SUPERIOR COURT
             Plaintiffs Miller Investment Trust (“Miller”) and Jura Limited (“Jura”, and with Miller, the

“Plaintiffs”), and Defendant Morgan Stanley & Company LLC (“Morgan Stanley,” and with

Plaintiffs, the “Parties”) hereby stipulate for dismissal of this Action upon the following conditions

as follows:

             WHEREAS, Plaintiffs’ Third Amended Complaint (“Complaint”) asserted claims against

KPMG, a Hong Kong Partnership (“KPMG”) under the federal securities laws;

             WHEREAS, Plaintiffs’ Complaint did not assert federal law claims against Morgan

Stanley;

             WHEREAS, to support subject-matter jurisdiction in this Court, Plaintiffs’ Complaint

asserted federal question jurisdiction; and

             WHEREAS, the Court has dismissed the claims against KPMG with prejudice, which is

pending on appeal. There is no longer any federal question jurisdiction and there does not appear

to be a basis for diversity jurisdiction at this time.

             NOW THEREFORE, IT IS STIPULATED THAT:




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        1.     Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(ii), Plaintiffs will voluntarily dismiss

this Action 1 without prejudice against Morgan Stanley in favor of filing a complaint in the

Massachusetts Superior Court, Suffolk County (the “State Court Action”) under the following

conditions:

               a. Morgan Stanley waives any statute of limitations or statute of repose in the State

                   Court Action;

               b. Morgan Stanley consents to personal jurisdiction in the State of Massachusetts

                   before the Massachusetts Superior Court in the State Court Action

               c. Plaintiffs will not assert new claims or causes of action in the complaint filed

                   in the State Court Action against Morgan Stanley or any affiliated entity, except

                   that Plaintiffs may assert all claims available under Massachusetts State law as

                   to their aftermarket purchases against Morgan Stanley and/or affiliated entities;

                   and

               d. The Parties shall seek acceptance of the State Court Action into the Business

                   Litigation Session (“BLS”).




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  This dismissal has no impact on the pending appeal relating to the dismissal of Plaintiffs’
claims against KPMG.


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        Dated: May 29, 2018.         Respectfully submitted,

                                     MILLER INVESTMENT TRUST, and JURA
                                     LIMITED,

                                     By their attorneys,

                                     /s/ Laurence Rosen
                                     Laurence Rosen (pro hac vice)
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Dated: May 29, 2018.                 Respectfully submitted,

                                     MORGAN STANLEY & CO., LLC,

                                     By its attorneys,

                                     /s/ John P. Bueker
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system to be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and that paper copies will be sent to any person indicated on ECF as a non-registered participant

on May 29, 2018

                                                     /s/ Laurence M. Rosen




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